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            EXHIBIT 186
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           ages and treatment in the adolescent chapter, I need your
           opinion
           From:
           To:              Adolescent SOC8 <adolescentsoc8©wpath.org>
           Date:            Fri, 29 Jul 2022 12:18:06 -0400
           Attachments:     age in adolescent chapter.docx (14.1 kB); SUMMARY CRITERIA for adolescents new
                            version.docx (16.67 kB)

           Dear all,
           I hope you are all well and having a good summer. I know you were hoping not to hear anything
           related to the SOC-8 anymore, but here we are again.
           The whole document (over 500 pages) has now been checked for references etc and sent to the
           IJTH. We are hoping to get the proofs this week so we need to go through it again and we will have a
           very small window if we want to change anything.

           The issue of ages and treatment has been quite controversial (mainly for surgery) and it has come up
           again.

           We sent the document to Admiral Levine, Minister of Health for the USA, for their views. We had a
           meeting on Zoom last week as she wanted to give us her feedback. She liked the SOC-8 very much
           but she was very concerned that having ages (mainly for surgery) will affect access to health care for
           trans youth and maybe adults too. Apparently the situation In the USA is terrible and she and the
           Biden administration worried that having ages in the document will make matters worse. She asked us
           to remove them.

           We have the WPATH executive committee in this meeting and we explained to her that we could not
           just remove them at this stage. So we have been thinking of solutions.

           You may remember that ages in the document were a "suggestion" not a "recommendation" as we
           had no evidence to recommend that, but in the document it has become a "recommendation" as it is
           part of the criteria.

           What is clear is that we don't want to remove the ages from the whole document, in fact, I thought that
           we needed to have the ages for young people to have access to care in the USA...

           One solution we thought will be to make the ages criteria a "suggestion" as it is in the document
           attached. If we do this, in the overall criteria of the appendix we could also put them as a suggestion
           (as in the document attached) or remove them from the criteria all together but leave them in the
           chapter as a "suggestion".

           The chairs would like to do this but we want to have your opinion.

           As time, is an issue with the proofs coming soon and having to be sent away soon, I would like to get
           your views as soon as possible (we need this by Monday the 1st of august):

                1. Do we leave things as they are in the text and in the criteria?
                2. Do we change in both documents and move it to suggest as per the attached documents
                   (changes highlighted)?
                3. Do we change it to suggest in the text and remove it from the criteria in the appendix.

           Let me know your thoughts




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          Kind regards
          =




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           Re: SOC8 of WPATH - Minimal ages for Adolescents
           From:
           To:

           Cc:

           Date:    Fri, 05 Aug 2022 08:47:40 -0400

           Dear

           I would be grateful if you could convey the following message to                  from myself on behalf
           of WPATH:

           Dear

           It was a pleasure to meet with you and your staff on Tuesday 26 July to discuss the SOC8. We
           appreciate your constructive comments and are fully aware how certain aspects of the SOC8 will
           affect the lives of many TGD people and their families in the US. More specifically, we heard your
           comments regarding the minimal age criteria for transgender healthcare adolescents; and the
           potential negative outcome of these minimal ages as recommendations in the US; and we have taken
           this very seriously. We have discussed this amongst ourselves, including the whole Working Group of
           the adolescent cha ters lus their Leaders                                                and with the
           SOC8 Chair                and Co-Chairs

           Consequently, we have made changes to the SOC8 in this respect. Given that the recommendations
           for minimal ages for the various gender affirming medical and surgical intervention are consensus-
           based, we could not remove them from the document. Therefore, we have made changes as to how
           the minimal ages are presented in the document. They are now not a recommendation from the SOC-
           8 anymore, but they have been written only as suggested minimal ages as long as the adolescent
           fulfils all the criteria for gender affirming medical and surgical interventions.

           I hope this assures you that WPATH is doing all it can to ensure high quality standards of care for all
           trans and gender diverse people globally, and that we do want to be as helpful as is realistically
           possible by having made these amendments following your helpful comments.

           We look forward to welcoming you in Montreal and I look forward to seeing you and welcoming you in
           person,

           With warm wishes,

           In servitude,




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           Re: Some Feedback from Member of Adm Levine's Staff
           From:           Walter Bouman
           To:
           Date:           Sat, 02 Jul 2022 03:00:41 -0400

           Dear

           dont worry: you did the right thing! Its disappointing that politics always trumps common sense and
           what is best for patients

           let's see whether anyone from the EC responds further, if not, we'll leave it until Monday and have a
           chat.

           warmest,

           and DO have a good weekend,

           Walter x



           Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

           Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham, UK

           President World Professional Association for Transgender Health (WPATH)

           Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)

           Nottingham National Centre for Transgender Health




           On 2022-07-02 02:34                 wrote:

            Hi Walter
            I didn't think anything would change but felt it was my duty to pass along the content of our
            discussion.
            Again, this was not in her role as COS for Adm Levine.
            I didn't mean to upset the Apple Card but wanted you all to be informed, we can strategize if any
            response is required.




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            Best regards




             On Jul 1, 2022, at 6:07 PM, Walter Bounna                                     > wrote:


             Hi

             just read the email trail, which I found disturbing for a number of reasons. Happy to discuss
             tomorrow. It is not appropriate to take any feedback from a nonmedical professional seriously.

             nothing is going to change in the SOC8.

             it is done!

             it Is late in Gent now, we just got home from dinner with Guy    leaving for the UK by train
             tomorrow morning        hopefully arriving home around 4-ish (PM).

             it's going to be fine!

             bear with me!!

             if Washington does not want to launch the SOC8 we'll do it in Brussels at the European Union....
             EPATH has the right contacts.

             Warmest

             Walter



             Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

             Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham, UK

             President World Professional Association for Transgender Health (WPATH)

             Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)

             Nottingham National Centre for Transgender Health




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             On 2022-07-01 20:22,                  wrote:

              Hi All
              She is not a clinician and was calling as Sarah, not a representative of the office, but I felt it
              important to share.

              E      regards




                  On Jul 1, 2022, at 2:16 PM, Asa Radix <                           wrote:

                  This is a global document, not solely for the US. I am a little surprised that we would be
                  asked to do this after all the care and endless discussions by experts to reach this consensus
                  on ages for surgeries. Is Sarah a clinician/surgeon? I wouldn't make any change unless the
                  relevant chapters found some new evidence to support change to 18.

                  On Fri, Jul 1, 2022, 1:47 PM                                     wrote:

                    Thanks Marci

                    FYI — as noted below, this is from Sarah, Adm Levine's chief of staff.



                    All best



                    From: Dr. Marci Bowers <
                    Sent: Frida Jul 1 2022 1:40 PM
                    To:
                    Cc:                                           ; Scott Leibowitz
                                                  Annelou Devries                         Jon Arcelus
                                                 >; Eli Coleman                    asa.radix
                    Subject: Re: Some Feedback from Member of Adm Levine's Staff



                    Hi all—




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                My concern from a scheduling and pre authorization process is that without specific age
                requirements, insurers may not grant authorization. I do understand Adm. Levine's
                concerns— I wonder if we should/ could be less aggressive in lowering the age limits on
                certain procedures. Anxious to hear other thoughts.

                Kindly



                Marci Bowers MD

                WPATH President-elect

                Trevor Project Board of Directors




                Standing tall in times of darkness




                  On Jul 1, 2022, at 10:29 AM,                                     wrote:




                  Dear EC, SOC8 Co-chairs, and Adolescent Chapter Leads



                  I just got off the phone with Sarah Boetang, who is Adm. Levine's chief of staff, she
                  has been reviewing the guidelines and wanted to convey a concern she has, as
                  Sarah, not as an official response/review of the office. She knows that the Adm is
                  continuing to comb through every word.

                  She is amazed at the breadth and improvement and comprehensive nature of the
                  entire document, her biggest concern is the section below in the Adolescent Chapter
                  that lists specific minimum ages for treatment, she is confident, based on the rhetoric
                  she is hearing in DC, and from what we have already seen, that these specific listings
                  of ages, under 18, will result in devastating legislation for trans care. She wonders if




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                  the specific ages can be taken out and perhaps an adjunct document could be
                  created that is published or distributed in a way that is less visible than the SOC8, is
                  the way to go.

                  I told her I would be writing to all of you, and she is happy to discuss her opinion
                  further, if needed. Please let me know how you want to proceed/respond/discuss.

                  All best




                   Statement 6.12h

                   The adolescent is the following age for each treatment:

                         • 14 years and above for hormone treatment (estrogens or androgens) unless there are
                           significant, compelling reasons to take an individualized approach when
                           considering the factors unique to the adolescent treatment time frame.
                         • 15 years and above for chest masculinization unless there are significant, compelling
                           reasons to take an individualized approach when considering the factors unique to
                           the adolescent treatment time frame.
                         • 16 years and above for breast augmentation, facial surgery (including rhinoplasty,
                           tracheal shave, and genioplasty) as part of gender-affirming treatment unless there
                           are significant, compelling reasons to take an individualized approach when
                           considering the factors unique to the adolescent treatment time frame.
                         • 17 and above for metoidioplasty , orchidectomy, vaginoplasty, hysterectomy, and
                           fronto-orbital remodeling as part of gender-affirming treatment unless there are
                           significant, compelling reasons to take an individualized approach when
                           considering the factors unique to the adolescent treatment time frame.
                         • 18 years or above for phalloplasty unless there are significant, compelling reasons
                           to take an individualized approach when considering the factors unique to the
                           adolescent treatment time frame.




                  Best Regards




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           feedback regarding the age statement in Adolescent SOC8
           chapter
           From:     Scott Leibowitz
           To:       Eli Coleman                        , asa.ra                   Jon Arcelus

           Cc:       "Vries A.L.C. de" <                                  >, Scott Leibowitz
                                                          "Gayathri.Chelvakumar
                                                                           dr.laura.edwardslee . er(
                     drrenmasse                    REM
                     "stephanie.roberts
           Date:     Mon, 01 Aug 2022 01:43:02 -0400

           Dear Chairs:

           We appreciated having the opportunity to discuss the recent request regarding the placement and
           wording of the age criteria statement for the Adolescent chapter. Instead of giving you a definitive
           answer, since quite honestly there is no right or wrong here, we all agreed to provide you with a
           transcription of the conversation that our workgroup members had regarding the issue by secure
           chat. Other than where I specified co-leads, I've decided not to indicate who the specific authors of
           each comment below are. The transcript reflects all 7 workgroup members' views, including the two
           co-leads of the chapter (myself and Annelou). We all agreed to share this with you and realize how
           challenging a situation it is and are grateful to you for spending time on the subject. In general, we
           are largely in favor of a compromise plan, whatever that looks like. Should you need to forward this
           conversation to other WPATH leaders, that is okay, however I do ask and trust that this conversation
           should remain confidential and kept only among those with decision-making control over this issue,
           given the sensitivity of the subject.

           As a workgroup we all agree that the following aims are all important considerations as it relates to
           this decision: 1) Preserve the scientific and ethical integrity of the chapter and its process; 2)
           Improve/promote access to balanced, ethical, gender-affirming care for those adolescents who are
           appropriate to receive it; and 3) Minimize any risk that the guidelines would lead to more access
           challenges (e.g. legislative bans in this instance). Therefore, we ask that you read our transcript so
           that the totality of our thoughts are available as the exact compromise decision gets made regarding
           placement and wording of the age statement.

           Thank you,
           Scott

           Scott Leibowitz, MD
           Child and Adolescent Psychiatrist I Nationwide Children's Hospital, Columbus, OH
           Medical Director of Behavioral Health I THRIVE (gender and sex development) program I he/him/his
           Associate Clinical Professor The Ohio State University College of Medicine




           Transcript of conversation about the placement of age criteria in the Adolescent Chapter among the 7
           members of the workgroup:

                   Hi, I saw it however this seems outside the scope of an email to discuss.




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                             • Response from Co-Lead: I didn't feel comfortable making this call without the
                               whole workgroups input. The challenge is the timeline- don't know how we can
                               convene before the time they need an answer
                             • Response from another workgroup member: And what about about from the
                               surgery and hormone folks. This is such a tight time frame.


                I was never committed to ages, so I'm fine with adjustments to de-emphasize them. However, I
                know others in the group felt ages were a priority, and I don't want to undermine those
                perspectives.

                             • Response from Co-Lead: I really think the main argument for ages is
                               access/insurance. So the irony is that the fear is that ages will spark political
                               attacks on access. I don't know how I feel about allowing US politics to dictate
                               international professional clinical guidelines that went through Delphi.
                             • Response from another workgroup member: I do agree that the Delphi situation
                               is a key consideration. Could they send them through again? It is a large
                               change, which I'm fine supporting, but it is weird because then we can never say
                               that the adolescent chapter passed Delphi


                 This feels like a very significant change to make in a very short time frame without proper
                discussion. I think we need to think about the ramifications. My sense is that the US, along with
                many other countries, is moving toward putting restrictions on youth seeking medical
                interventions and making the age requirement MUCH older. If our concern is with legislation
                (which I don't think it should be - we should be basing this on science and expert consensus if
                 we're being ethical) wouldn't including the ages be helpful? ie, it will be harder for
                states/countries to enact laws that go against the SOC. Plus, aren't the ages just a
                recommendation with room for adjusting in unique circumstances? I need someone to explain
                to me how taking out the ages will help in the fight against the conservative anti trans agenda.
                Maybe I'm missing something.

                             • Response from Co-Lead: The conservatives will only hone in on the ages and
                               say that WPATH is supporting "cutting off healthy girl breasts at 15 years old" for
                               example. They will not talk about the rest of the guidelines, except for the ages,
                               and then it will create misguided fear and legislation will pass


                How does taking the ages out help? We're still recommending medical interventions for minors.
                So they'll just say that.

                             • Response from Co-Lead: It doesn't give them the headline. Less direct focus on
                               age. I mean, we have a very high up politician telling us that having the ages
                               specified front and center would politically lead to more attacks and legislative
                               efforts. I see no reason not to trust that assessment is accurate.


                Here's one scenario I'm trying to work through in my head - if any of us have to defend
                affirmative care including med interventions for minors, to conservative groups (including those
                involved in making legislation), it seems important that the SOC be clear and not vague or it will
                be quickly dismissed - especially if it can be interpreted that even young adolescents can easily
                obtain medical interventions. That is my biggest concern, honestly. I'm already a bit worried
                about the change from "several years" for this reason. I do see your point about the headlines
                though, Scott. I see how it could cause more uproar among the general public. However I'm not
                sure how much that actually matters when the laws are being made. I'm also curious how the
                group feels about us making changes based on current US politics. Not trying to be difficult




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                here! Just want to be sure we're thinking this through carefully. I agree about listening to
                Levine.


                             • Response from Co-Lead: I think it's safe to say that we all agree and feel
                               frustrated (at minimum) that these political issues are even a thing and are
                               impacting our own discussions and strategies. But. On the flip side, for all our
                               work to be thrown down the drain because we know it will be used to further
                               efforts to ban our work..... if being strategic by putting that in an Appendix, or
                               changing to "suggest," we shouldn't be outright dismissive of workarounds. I
                               think it's important that we all get our thoughts out now though.


                My understanding is that the suggestion from the chairs is to leave the ages in but have them
                as suggestions and not criteria/recommendations for start of treatment? That seems like an ok
                compromise to me.

                I really really wish with this edit that we would be able to add the citation of Diane Chen's paper
                under review that addresses some of this. Unfortunately, I think the paper is now under review
                again (round 2).

                I agree that changing to "suggest" is a good compromise. And yes, it is frustrating to have to
                have politics in our brains as we make these decisions. But it is what it is!

                In the getting things out now vein, I'm not a fan of letting the USA dictate international policy. I
                think these issues of adolescent care are occurring in other countries as well. But I suspect that
                since Dr. Levine has a relationship with WPATH leaders that made it easier to reach out to
                WPATH. I'm confused about the reasoning about the ages too. Maybe there's something I'm
                missing but I think the conservatives are going to react negatively to age "suggestions" as well.
                Still a headline. I'm concerned about the headline: SOC 8 changes at last minute at request of
                USA official. The one reason I might be ok changing is we don't have exact data/studies in the
                ages we recommended. We have applied related research and clinical experience in
                recommending the ages. I do wonder how they will be defended in court cases, but it can be
                done. I believe this change should run by Delphi if we make it.

                             • Response from Co-Lead: All good points. I do think that the results of the
                               Delphi would be influenced by politics also at this point, tbh.
                             • Response from other workgroup member: Great point, )00( Rumors are
                               already spread about us caving to activist pressure when we made the "several
                               years" change. It seems like it's not going to be pretty, whatever we do.
                               Sadly. 0
                             • Response from other Co-Lead: Hi all, I could live with 'suggestions' instead of
                               'recommendation' but do not understand the policy behind it at all. What exactly
                               happens if we keep it as it is? Very good point to think about is XXX's
                               consideration what message we bring with changing last minute.




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           Re: Some Feedback from Member of Adm Levine's Staff
           From:    Eli Coleman <                  >
           To:
           Cc:


           Date:    Sat, 02 Jul 2022 07:48:13 -0400

           The only evidence we had for establishing this was expert opinion.

           On Fri, Jul 1, 2022 at 1:16 PM                                       wrote:
            This is a global document, not solely for the US. I am a little surprised that we would be asked to
            do this after all the care and endless discussions by experts to reach this consensus on ages for
            surgeries. Is Sarah a clinician/surgeon? I wouldn't make any change unless the relevant chapters
            found some new evidence to support change to 18.

             On Fri, Jul 1, 2022, 1:47 PM                                  > wrote:

               Thanks Marci

               FYI — as noted below, this is from Sarah, Adm Levine's chief of staff.



               All best



               From: Dr. Marci Bowers <                           >
               Sent: Frida Jul 1 2022 1:40 PM
               To:
               Cc:

                                              Eli Coleman <              >
               Subject: Re: Some Feedback from Member of Adm Levine's Stafi



               Hi all—

               My concern from a scheduling and pre authorization process is that without specific age
               requirements, insurers may not grant authorization. I do understand Adm. Levine's concerns—
               I wonder if we should/ could be less aggressive in lowering the age limits on certain
               procedures. Anxious to hear other thoughts.

               Kindly



               Marci Bowers MD

               WPATH President-elect

               Trevor Project Board of Directors




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                                                                                                       BOEAL_WPATH_131972


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              Standing tail
                       tall in times of darkness




                On Jul 1, 2022, at 10:29 AM,                                      > wrote:




                Dear EC, SOC8 Co-chairs, and Adolescent Chapter Leads



                I just got off the phone with Sarah Boetang, who is Adm. Levine's chief of staff, she has
                been reviewing the guidelines and wanted to convey a concern she has, as Sarah, not as
                an official response/review of the office. She knows that the Adm is continuing to comb
                through every word.

                She is amazed at the breadth and improvement and comprehensive nature of the entire
                document, her biggest concern is the section below in the Adolescent Chapter that lists
                specific minimum ages for treatment, she is confident, based on the rhetoric she is hearing
                in DC, and from what we have already seen, that these specific listings of ages, under 18,
                will result in devastating legislation for trans care. She wonders if the specific ages can be
                taken out and perhaps an adjunct document could be created that is published or
                distributed in a way that is less visible than the SOC8, is the way to go.

                I told her I would be writing to all of you, and she is happy to discuss her opinion further, if
                needed. Please let me know how you want to proceed/respond/discuss.

                All best




                 Statement 6.12h

                 The adolescent is the following age for each treatment:




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                      • 14 years and above for hormone treatment (estrogens or androgens) unless there arc      are
                        significant, compelling reasons to take an individualized approach when considering the
                        factors unique to the adolescent treatment time frame.
                      • 15 years and above for chest masculinization unless there arc   are significant, compelling
                        reasons to take an individualized approach when considering the factors unique to the
                        adolescent treatment time frame.
                      • 16 years and above for breast augmentation, facial surgery (including rhinoplasty, tracheal
                        shave, and genioplasty) as part of gender-affirming treatment unless there are significant,
                        compelling reasons to take an individualized approach when considering the factors
                        unique to the adolescent treatment time frame.
                      • 17 and above for metoidioplastv
                                          metoidioplasty , orchidectomy, vaginoplasty, hysterectomy, and fronto-
                        orbital remodeling as part of gender-affirming treatment unless there are significant,
                        compelling reasons to take an individualized approach when considering the factors
                        unique to the adolescent treatment time frame.
                      • 18 years or above for phalloplasty unless there are significant, compelling reasons to take
                        an individualized approach when considering the factors unique to the adolescent
                        treatment time frame.




                Best Regards




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                  Eli Coleman, PhD.
                  Academic Chair in Sexual Health
                  Professor and Director
                  The Institute fcr
                                for S
                                    Sexual and Gender
                                               f3ender Health
                  University of Minnesota Medical School
                  Family Medicine and Community Health
                  sexualhealth.umn.edu




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           Re: Concerns About Standards of Care 8
           L
           From:      Dr. Marci Bowers
           To:
           Cc:                                                                       , WPATH EC 2022
                      <wpathec2022©wpath.org>
           Date:      Sat, 03 Sep 2022 14:24:01 -0400

           hi all—
           i've also been asked to speak again with Admiral Levine this weekend. i can do so with your blessing
           but will only reiterate our position and find out what they are asking, if that is acceptable?

           Kindly

           Marci Bowers MD
           WPATH President-elect




           Standing tall in times of darkness


             On Sep 3, 2022, at 10:58 AM, Dr. Marci Bowers                                wrote:


             My response-
              As we all say... this is where we have gone. The evidence is as it is. Caution, deliberacy, and
             the right to autonomy are also implied. i only hope that our standing as a scientific organization
             rather than an advocacy organization can be emphasized.

             Kindly

             Marci Bowers MD
             WPATH President-elect




             Standing tall in times of darkness


               On Sep 3, 2022, at 3:49 AM                                                          rote:




               It is likely that we will hear such and other "concerns " from other assocations/organisations
               after the SOC8 release as well. We'll do what we always do: say we're sorry that they have
               not engaged with the public comment period of the SOC8 (if they have not) and point to the




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              evidence base of the SOC8 recommendations: the best available evidence to date and
              clinical consensus to be used flexibly to serve the best interest of our patients and their
              families (of choice).

              Warmest,




                        ell


              On 2022-09-03 03:05,                mail wrote:

               Yes-agree



               Sent from my iPhone


               I   On Sep 2, 2022, at 9:00 PM,                                           rote:

                   I'm disappointed that they didn't provide input to the draft guideline.

                   On Fri, Sep 2, 2022, 9:54 PM                                                wrote:
                    I wonder if this is along the lines of what admiral Levine was concerned about

                     Sent from my iPhone


                    I   On Sep 2, 2022, at 8:30 PM,

                        Dear All
                                                                                         wrote:




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                   I'm happy to reach out for a time to talk with them but would want someone else
                   online too. Please advise how to proceed.

                   Best regards
                        re ards




                   Begin forwarded message:

                    From:
                    Dat                                EDT
                    To:
                    Subject: Concerns About Standards of Care 8

                    Hi there

                    My name is
                    at The Trevor Project. My primary portfolio is supporting trans youth and fighting
                    the anti-trans healthcare legislation and policy sweeping the country right now. I
                    know you're likely quite busy leading up to the symposium in a few weeks, but
                    I'm hoping we can talk sooner rather than later.

                    If what we're hearing is correct - and it's entirely possible it isn't - we're extremely
                    concerned about the age minimums I believe are in the new SOC8 standards. If
                    what we've seen is accurate, this could have disastrous consequences for the
                    work to protect basic healthcare for transgender youth. I promise I wouldn't be
                    emailing you at such a busy time if I thought this was anything but an
                    emergency.

                    I know we're on the same side, and I'm hoping we can talk this throw h a bit. Is
                    there any way we could connect in the coming days? My cell is
                    and I promise I'll be on call all weekend.

                    Thank you so much for all your work on behalf of trans and nonbinary youth. I
                    hope these busy weeks are treating you as kindly as possible. Take good care.




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                                          I

                    The Trevor Project is the world's largest suicide prevention and crisis
                   intervention organization for LGBTQ (lesbian, gay, bisexual, transgender, queer,
                   and questioning) young people.

                   If you or someone you know is feeling hopeless or suicidal, contact The Trevor
                   Project's TrevorLifeline 24/7 at 1-866-488-7386. Counseling is also available
                   24/7 via chat every day at TheTrevorProject.org/Help, or by texting START to
                   678-678.




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               Re: Admiral Levine
               From:            Dr. Marci Bowers <                     >
               To:
               Date:            Mon, 08 Aug 2022 09:45:06 -0400


               Thank you,M.
                      you,         Agreed.
               Kindly

               Marci Bowers MD
               WPATH President-elect
               Trevor Project Board of Directors




               Standing tall in times of darkness


                  On Aug 8, 2022, at 1:33 AM,                                                 wrote:




                  Dear Marci,

                  thanks for the update.

                  We cannot change the SOC8 content, but have tried as much as is reasonably possible to
                  address the issues she brought up.

                  Warmest,




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                  E-mail:




                  On 2022-08-07 23:46, Dr. Marci Bowers wrote:

                   Hi all—
                   Not much notice on this but ADMIRAL LEVINE reached out to me in order to have a one-on-
                   one conversation tomorrow morning—on ly 30 minutes but strategizing I suppose. I will of
                   course support the SOC as it will be presented, no compromises. I will uphold all I have shared
                   with each of you previously, no new ground here.

                   Marci Bowers, MD
                   WPATH President-elect
                   Trevor Project Board of Directors




                   www.marcibowers.com
                   www.marcibowers.corn




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               Re: Call today ?
               From:         "Boateng, Sarah (HHS/OASH)" <                             >
               To:           Dr. Marci Bowers <                        >
               Date:         Sat, 03 Sep 2022 12:40:52 -0400

               Thanks. 4pm is good. That is 7pm EST correct? I'll send a zoom. Safe travels

               Sarah

               Get Outlook for iOS
               From: Dr. Marci Bowers <                     >
               Sent: Saturday, September 3, 2022 12:39:33 PM
               To: Boateng, Sarah (HHS/OASH) <                                    >
               Subject: Re: Call today ?

               hi—
               am flying back from vancouver today. i land at 2 PDT, interview at 3 pm, then free after about 4

               Kindly

               Marci Bowers MD
               WPATH President-elect
               Trevor Project Board of Directors




               Standing tall in times of darkness


                  On Sep 3, 2022, at 6:38 AM, Boateng, Sarah (HHS/OASH) <                               > wrote:




                  Hi Dr Bowers

                  Would you be available for a call today with Dr Levine? Perhaps 2pm EST? Please let me know.
                  Thanks

                  Sarah

                  Get Outlook for iOS




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                                                                                                                      #102.1

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               Touch Base
                Where:       https://www.zoomgov.com/j/1611937840?pwd=SUZBMWZGekN4SXYyS2JJK1pkR0FJQT
                             https://www.zoomgov.com/j/1611937840?pwd=SUZBMWZGekN4SXYyS2JJKlpkR0FJQT
                             09
               When:         Sat Sep 03 19:00:00 2022 -04:00
               Until:        Sat Sep 03 19:30:00 2022 -04:00
               Organiser     Common Name=Boateng, Sarah (HHS/OASH) mailto:

               Required      ROLE=REQ-PARTICIPANT PARTSTAT=NEEDS-ACTION RSVP=TRUE Common
               Attendees     Name=Levine, Rachel (HHS/OASH) mailto
                             ROLE=REQ-PARTICIPANT PARTSTAT=NEEDS-ACTION RSVP=TRUE Common
                             Name=Keene, Jamie D. EOP/WHO mailto:
                             ROLE=REQ-PARTICIPANT PARTSTAT=NEEDS-ACTION RSVP=TRUE Common
                             Name=Dr. Marci Bowers mailto:         m

               Sarah Boateng is inviting you to a scheduled ZoomGov meeting.

               Join ZoomGov Meeting
               https://www.zoomgov.com/j/1611937840?pwd=SUZBMWZGekN4SXYyS2JJK1pkR0FJQT09

               Meeting ID: 161 193 7840
               Passcode: 102067
               One tap mobile
               +16692545252„1611937840# US (San Jose)
               +16468287666„1611937840# US (New York)

               Dial by your location
                    +1 669 254 5252 US (San Jose)
                    +1 646 828 7666 US (New York)
                    +1 551 285 1373 US
                    +1 669 216 1590 US (San Jose)
                    833 568 8864 US Toll-free
               Meeting ID: 161 193 7840
               Find your local number: https://www.zoomgov.com/u/adAA8MfnnQ

               Join by SIP
               1611937840@sip.zoomgov.com<mailto:1611937840@sip.zoomgov.com>
               1611937840@sip.zoomgov.com<mailto:1611937840©sip.zoomgov.com>

               Join by H.323
               161.199.138.10 (US West)
               161.199.136.10 (US East)
               Meeting ID: 161 193 7840
               Passcode: 102067




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                                                                                                       #105.1

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               RE: Call today ?
               From:         "Boateng, Sarah (HHS/OASH)" <                            >
               To:           Dr. Marci Bowers <                       >
               Date:         Mon, 05 Sep 2022 11:59:47 -0400

               Good Afternoon Dr. Bowers

               I hope you are well. Would it be helpful to reconnect today or this week? Please let me
               know. Thanks so much.

               Sarah

               From: Dr. Marci Bowers <                         >
               Sent: Saturday, September 3, 2022 12:40 PM
               To: Boateng, Sarah (HHS/0ASH)<
                                   (HHS/0ASH) <                           >
               Subject: Re: Call today ?

               hi —
               hi—
               am flying back from vancouver today. i land at 2 PDT, interview at 3 pm, then free after about 4

               Kindly

               Marci Bowers MD
               WPATH President-elect
               Trevor Project Board of Directors




               Standing tall in times of darkness




                  On Sep 3, 2022, at 6:38 AM, Boateng, Sarah (HHS/OASH)<
                                                             (HHS/0ASH)<                             > wrote:


                  Hi Dr Bowers

                  Would you be available for a call today with Dr Levine? Perhaps 2pm EST? Please let me know.
                  Thanks

                  Sarah

                  Get Outlook for iOS




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